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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA

                                    GREENVILLE DIVISION

 William L. Carroll,                              )   Civil Action No.
                                                  )
                                     Plaintiff,   )
                                                  )
                vs.                               )          NOTICE OF REMOVAL
                                                  )
 The Variable Annuity Life Insurance              )
 Company,                                         )
                                                  )
                                   Defendant.     )
                                                  )

       YOU ARE HEREBY NOTIFIED that, pursuant to 28 U.S.C. § 1446, the Defendant The

Variable Annuity Life Insurance Company (“VALIC”), by and through its undersigned counsel,

hereby files this Notice of Removal of the above-captioned action from the Court of Common

Pleas for Greenville County, State of South Carolina, to the U.S. District Court for the District of

South Carolina, Greenville Division.

                  I. STATEMENT OF COMMENCEMENT OF ACTION

       The above-captioned action was commenced by the Plaintiff by the filing of a Summons

and Complaint on March 13, 2018, and mailing a copy of the same to VALIC by letter dated March

19, 2018. This action is pending in the Court of Common Pleas for Greenville County, State of

South Carolina, bearing Civil Action No. 2018-CP-23-01540. Pursuant to 28 U.S.C. § 1446(b),

this Notice of Removal is timely filed.
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                     II. PLEADINGS AND NOTICE TO STATE COURT

        A true and correct copy of all process, pleadings, and orders served upon VALIC are

attached as Exhibit A and are being filed along with this Notice of Removal. Pursuant to 28 U.S.C.

§ 1446(d), written notice of this removal is being served on the Plaintiff and is being provided to

the Clerk of Court for the Greenville County Court of Common Pleas.

            III. STATEMENT OF STATUTORY BASIS FOR JURISDICTION

        This action is within the original jurisdiction of the U.S. District Court pursuant to 28

U.S.C. § 1332. This statute provides, in pertinent part, that “[t]he district courts shall have original

jurisdiction of all civil actions where the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between . . . citizens of different States.” 28 U.S.C.

§ 1332(a)(1). As discussed below, this action satisfies both statutory requirements.

                                    A. Amount in Controversy

        The Plaintiff seeks to recover damages purportedly resulting from VALIC’s failure to pay

benefits under an annuity contract. The Plaintiff has brought claims for breach of contract, breach

of contract accompanied by fraudulent act, negligence, breach of fiduciary duty, conversion, and

violation of the South Carolina Unfair Trade Practices Act. (Pl.’s Compl. ¶¶ 16-53.) The prayer

for relief at the conclusion of the Complaint does not specify the amount of recovery sought, nor

does it limit the Plaintiff’s recovery.

        The Plaintiff alleges that the subject annuity has a current value of $58,784.43. (See Pl.’s

Compl. ¶ 14.) Further, the Plaintiff seeks to have any damages award trebled. The Plaintiff also

seeks to recover punitive damages. Punitive damages should be included in determining the

amount in controversy for purposes of removal. As stated by the U.S. Supreme Court, “[w]here

both actual and punitive damages are recoverable under a complaint each must be considered to



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the extent claimed in determining jurisdictional amount.” Bell v. Preferred Life Assurance Soc’y,

320 U.S. 238, 240 (1943). In fact, a “claim for punitive damages alone makes it virtually

impossible to say that the claim is for less than the jurisdictional amount.” Woodward v. Newcourt

Comm. Fin. Corp., 60 F. Supp. 2d 530, 532 (D.S.C. 1999). Accordingly, the amount in controversy

exceeds $75,000, exclusive of interest and costs, and the jurisdictional requirement is satisfied.1

                                  B. Citizenship of the Parties

       The Complaint alleges that the Plaintiff is a resident of the State of South Carolina. (Pl.’s

Compl. ¶ 1.) VALIC was at the time of the filing of the Complaint, and still is, an insurer duly

organized and existing under the insurance code of the State of Texas with its principal place of

business in Texas and, therefore, is not a citizen of the State of South Carolina. Accordingly, there

is diversity of citizenship between VALIC and the Plaintiff.

                                       IV. CONCLUSION

       WHEREFORE, the Defendant hereby removes this matter from the Greenville County

Court of Common Pleas to the U.S. District Court for the District of South Carolina, Greenville

Division.


                                SIGNATURE PAGE ATTACHED




1
 VALIC does not waive and expressly reserves the right to challenge all damages or other forms
of relief on all available grounds.


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Columbia, South Carolina

April 10, 2018




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